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 1                                                            THE HONORABLE RICHARD A. JONES

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                                  UNITED STATES DISTRICT COURT
 8                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 9
      UNITED STATES OF AMERICA,
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                                   Plaintiff,               Case No. CR18-0092-RAJ
11                   v.
                                                            ROSS HANSEN’S SENTENCING
12    BERNARD ROSS HANSEN,                                  MEMORANDUM

13                                 Defendant.               Redacted version for public filing.
                                                            Unredacted version filed under seal.
14

15           Despite owning and running Northwest Territorial Mint (“NWTM”), a huge, multimillion-

16   dollar company, Ross Hansen lived modestly, living in a rented home for $1,650 a month, and

17   wearing the same humble jeans and shirts each day. If Mr. Hansen were a greedy man, he could

18   easily have done better for himself. He could have taken tens of millions of dollars in owner’s draws

19   from his company, stripping it of its assets as it began to fail. But he did not do so. That is because

20   Mr. Hansen, unlike most fraud defendants, was not motivated by personal greed. He did not want

21   to enrich himself at the expense of others, to take from others without delivering anything of value

22   in return.

23

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 1          He instead just wanted his company to succeed. The success of his company depended on

 2   its customers, and, as the evidence at trial reflected, Mr. Hansen “wanted customers to be satisfied.”

 3   Trial testimony of C. Hopkins. He had “no intent . . . to take people’s money and never give them

 4   bullion,” the former general counsel of the company explained. Id. To the contrary, if he could have

 5   had his way, NWTM would have fulfilled every one of his customer’s orders, so that the business

 6   could have continued to succeed. This is not to negate or excuse the crimes for which he was

 7   convicted—regrettably, many of NWTM’s customers ultimately did not get what they ordered and

 8   lost money. But when determining a sentence, the Court should take into consideration that Mr.

 9   Hansen never wanted those losses to happen.

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17          Although the Court must take the Sentencing Guidelines into consideration, it should find

18   that the Sentencing Guidelines in this case fail to account for many of the relevant facts at issue, and

19   that the guideline range is not reasonable. For one, the Sentencing Guidelines are primarily driven

20   by the amount of losses caused by the defendant’s conduct. But that arithmetic-based approach fails

21   to account for a defendant’s motivation. In a typical fraud case, one dollar of loss is one dollar that

22   the defendant wanted to steal from another so he could enrich himself. But that is not the case here.

23   Mr. Hansen was not driven by personal greed and never wanted to hurt his own customers.

24

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 1             The guideline range as calculated in the presentence report is also overstated. For one, the

 2   presentence report should have used Mr. Hansen’s gain from the offense, rather than the estimated

 3   losses, because the losses attributable to Mr. Hansen were impossible to reasonably estimate.

 4   Numerous government witnesses testified at trial that the records that the government used to

 5   determine the losses in this case are utterly unreliable. And, even if there were reliable records, the

 6   losses to the customers of NWTM were from a combination of factors, including ones not

 7   attributable to Mr. Hansen, such as the incompetence and malfeasance of the trustee who took over

 8   the company after the bankruptcy. In these situations, where reliably estimating the loss amount is

 9   impossible, the Court can and should look instead to Mr. Hansen’s gain from the offense. Doing so

10   better reflects the culpability of Mr. Hansen, and dramatically reduces the guidelines calculation in

11   this case—reducing the guideline range from life down to 70–87 months.

12             Regardless of which guidelines calculation the Court determines to be the correct one, Mr.

13   Hansen recommends that the Court impose a custodial sentence substantially below the

14   recommendation made by the probation office. 1

15                I.      THE HISTORY AND CHARACTERISTICS OF ROSS HANSEN

16             In determining a sentence, this Court is called upon to evaluate Mr. Hansen’s personal history

17   and his characteristics, so that the Court can assess his “immediate misconduct” within the larger

18   “context of his overall life.” United States v. Adelson, 441 F. Supp. 2d 506, 513–14 (S.D.N.Y. 2006).

19   A. Mr. Hansen built NWTM from the ground up.

20             Throughout the mid-to-late 1990s, Ross Hansen worked non-stop, living in the same building

21   as his business, and totally committing himself to the success and growth of his company, NWTM.

22   December 20, 2021 Presentencing Report (PSR), ¶ 90. And, through this hard work, his business

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     1
         Mr. Hansen has requested that we not recommend a specific sentence.
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 1   slowly began to grow and succeed. Id. ¶ 90. By the 2000s, it was flourishing. What had been Mr.

 2   Hansen’s storefront business had grown into a company that moved tens of millions of dollars’ worth

 3   of precious metals each month. Id. ¶ 91.

 4          All the while, Mr. Hansen maintained the lifestyle of a small-business owner—living a

 5   modest life entirely dedicated to his work. He put in long hours, working late into the night. As one

 6   witness put it at trial, Mr. Hansen “was probably as dedicated a person as” he had ever “seen in any

 7   trade.” Trial testimony of J. Goodfellow. Another witness recalled that he “never took a personal

 8   vacation.” Trial testimony of G. Fullington. He lived modestly. He paid himself no set salary—

 9   taking owner’s draws only as he needed them—and rented a house near his office for $1,650 a

10   month. See trial testimony of A. Trunkett. And he “wore the same jeans and three shirts every day.”

11   Trial testimony of G. Fullington. None of this changed as the business grew.

12          Despite the booming success of NWTM—which came to sprawl across multiple locations in

13   multiple states, with hundreds of employees—Mr. Hansen still ran the business the way a small

14   business owner might run a storefront operation. He tried to work with each of his employees

15   directly, like a small shopkeeper might. The testimony of the Chief Information Officer, Paul

16   Wagner, is perhaps the clearest expression of this: When asked to describe Mr. Hansen’s style of

17   management, Mr. Wagner quipped that Mr. Hansen had “350 direct reports,” explaining that Mr.

18   Hansen tried to “work[] through all 350 people directly.” See trial testimony of P. Wagner. When

19   asked to explain why he picked the number “350,” Mr. Wagner explained “that’s how many

20   employees the company had.” Id. When it came to managing the company’s finances, Mr. Hansen

21   made decisions based on the amount of cash the company had in the bank on any particular day. See

22   trial testimony of A. Trunkett (“Q: And what did you prepare -- what is the cash report? What does

23   it look like? A: The cash report is just a single page report of -- out of the Excel program and it just

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 1   gave the current figures. It was just an Excel spreadsheet on a single sheet of paper.”); trial testimony

 2   of J. Young (“Q: . . . [H]e was making decisions based on those cash reports that he was getting,

 3   right? A: Just to clarify, are we talking about the cash position report that he got from Annette

 4   Trunkett? Q: Yes. A: I believe that’s correct.”).

 5   B. Mr. Hansen today is impoverished                            .

 6          On April 1, 2016, NWTM declared bankruptcy. At that time, Mr. Hansen’s already-modest

 7   finances collapsed along with the company’s, and by 2018 he did not even have enough assets to

 8   pay for a lawyer to represent him in his criminal case. Dkt. 10.

 9          Since the bankruptcy, Mr. Hansen has lived a law-abiding life, focused on caring for his

10   significant other, Diane Erdmann,

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19                                                        Mr. Hansen has diligently complied with his

20   conditions of pretrial release. PSR ¶ 5. He has attended every Court proceeding and maintained

21   contact with pretrial services as required under his bond conditions. Aside from one instance of

22   contact with a witness, he has never been found to have violated his bond in the three-and-a-half

23   years since it was issued.

24

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 1                          II.     ANALYSIS OF SENTENCING FACTORS

 2          When sentencing a defendant, Courts are called upon to determine and “‘impose a sentence

 3   that is sufficient, but not greater than necessary, to comply with’ the four identified purposes of

 4   sentencing: just punishment, deterrence, protection of the public, and rehabilitation.” Dean v. United

 5   States, 137 S. Ct. 1170, 1175 (2017) (quoting 18 U.S.C. § 3553(a)). This determination is committed

 6   to the sound discretion of the sentencing judge. “Sentencing,” the Ninth Circuit has recognized, “is

 7   an art, not to be performed as a mechanical process but as a sensitive response to a particular person

 8   who has a particular personal history and has committed a particular crime.” United States v. Harris,

 9   679 F.3d 1179, 1183 (9th Cir. 2012). Indeed, in this individualized determination, not even the range

10   recommended by the now-advisory Sentencing Guidelines can be presumed to be reasonable. Gall

11   v. United States, 552 U.S. 38, 50 (2007). Instead, the Guidelines are but one factor among the others

12   articulated in 18 U.S.C. § 3553(a) that are all to be considered when determining a sentence. United

13   States v. Carty, 520 F.3d 984, 991 (9th Cir. 2008).

14   A. Mr. Hansen was not motivated by greed or malice.

15          Mr. Hansen does not a deserve a life sentence. His sentence should instead reflect that his

16   mistakes were not derived from personal greed, or a desire to take from others without giving

17   anything in return, but instead from a desire to save his company and to catch up on what he had

18   promised to others.

19          Multiple government witnesses at trial testified that Mr. Hansen always wanted to deliver to

20   his customers what they had ordered. Catherine Hopkins—the former general counsel of NWTM—

21   acknowledged in her testimony that Mr. Hansen “wanted customers to be satisfied” and that “there

22   was no intent that [she] observed . . .to take people’s money and never give them bullion.” Trial

23   testimony of C. Hopkins. Annette Trunkett—once the top accountant at the company—backs that

24   up. She testified that Mr. Hansen was “always” buying raw metal with the “purpose” of getting “the

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15   C. A sentence of 84 months is not necessary to achieve sufficient deterrence.

16          As a result of the failure of his business and this prosecution, Mr. Hansen has no capacity to

17   ever operate anything like NWTM again.

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20          Nor would any others look to Mr. Hansen’s situation and want to emulate him. Mr. Hansen

21   has lost everything he worked for over the past 25 years. And he will never get even a fraction of

22   his money or respect back.      Academic studies and courts have found that these types of

23   consequences—more than the length of a prison sentence—are what deter would-be white-collar

24   offenders. See Adelson, 441 F. Supp. 2d at 514 (noting that “even relatively short sentences can

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 1   have a strong deterrent effect on prospective ‘white collar’ offenders” and collecting authorities);

 2   see Richard S. Frase, Punishment Purposes, 58 Stan. L. Rev. 67, 80 (2005) (observing that white-

 3   collar “offenders have many lawful alternatives and much to lose from being convicted, regardless

 4   of the penalty”).

 5   D. Mr. Hansen’s sentence should be consistent with the sentence in the comparable case of
     United States v. Tulving.
 6
            Although this case is unique in many ways, there is one case that bears striking resemblance
 7
     to it. In United States v. Tulving, 15-cr-115 (W.D.N.C.), as here, the defendant was the sole owner
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     and president of a precious-metals bullion business. See Tulving, Dkt. 1, ¶ 2. And, in Tulving, as
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     here, the defendant was convicted of fraud for inducing customers to place bullion orders that he
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     knew could not be fulfilled as advertised. Id. ¶ 5. And, like here, the alleged losses were substantial:
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     The losses in Tulving totaled over $15 million. Id. ¶ 1. There were some differences: Mr. Tulving,
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     pleaded guilty and cooperated, but also had lived far more extravagantly during his offenses than
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     Mr. Hansen ever did—according to a transcript of Mr. Tulving’s sentencing hearing, Mr. Tulving
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     drove a Ferrari and paid $30,000 a month out of the business for a condo for himself. See Tulving,
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     Dkt. 35 at 39. Mr. Tulving was ultimately ordered to pay more than $15 million in restitution and
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     was sentenced to 30 months in prison. See Tulving, Dkt. 43. And while perhaps some disparity
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     between Mr. Tulving’s sentence and Mr. Hansen’s may be warranted to account for Mr. Tulving’s
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     acceptance of responsibility and cooperation, the evidence in this case does not support a
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     substantially longer sentence for Mr. Hansen than for Mr. Tulving. The sentence of 84 months
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     recommended by the probation office would be nearly triple what Mr. Tulving received and would
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     indeed create an unwarranted sentencing disparity.
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 1   E. The Sentencing Guidelines.

 2          As the Court is well-aware, the sentences prescribed by the Guidelines are merely one factor

 3   to be considered in crafting a sentence; the only truly dispositive criterion is reasonableness. See

 4   United States v. Mohamed, 459 F.3d 979, 987 (9th Cir. 2006) (“[A]ny post-Booker decision to

 5   sentence outside of the applicable guidelines range is subject to a unitary review for reasonableness,

 6   no matter how the district court styles its sentencing decision.”). In this case, the guideline range

 7   should carry little weight.

 8          The Sentencing Guidelines have been frequently criticized for focusing in fraud cases on the

 9   pure arithmetic of the financial losses. “As many have noted,” one court observed, “the Sentencing

10   Guidelines, because of their arithmetic approach and also in an effort to appear ‘objective,’ tend to

11   place great weight on putatively measurable quantities, such as the weight of drugs in narcotics cases

12   or the amount of financial loss in fraud cases, without, however, explaining why it is appropriate to

13   accord such huge weight to such factors.” Adelson, 441 F. Supp. 2d at 509 (citing Kate Stith & José

14   A. Cabranes, Fear of Judging: Sentencing Guidelines in the Federal Courts 69 (1998)). Because

15   the Guidelines place “inordinate emphasis . . . on the amount of actual or intended financial loss,”

16   the sentencing ranges recommended by the Guidelines are often unjust and arbitrary. See id.

17          That is especially true here. For one thing, the Guidelines fail to account for Mr. Hansen’s

18   atypical motivation. As discussed above, unlike most defendants convicted of fraud, Mr. Hansen

19   was not driven by greed. The Guidelines take no account of that, but instead determine his sentence

20   purely based on the numbers. The Guidelines are also especially arbitrary in this case, with a wide

21   swing in the Guidelines depending on how one calculates them. Whereas the presentence report and

22   the government calculated Mr. Hansen’s total offense level to be a 43, corresponding with a

23   guideline range of life in prison, Mr. Hansen’s counsel calculates the total offense level to be a 27,

24   corresponding with a guideline range of 70–87 months. Leaving aside the merits of these respective

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 1   positions, this wide swing in guideline ranges shows just how arbitrary the Guidelines can be—

 2   turning not on the culpability of the defendant but on how the losses (or gains) attributable to the

 3   defendant are determined.

 4          Given the arbitrary nature of the Guidelines in this case, counsel for Mr. Hansen recommends

 5   a sentence that is significantly below the sentence recommended by the probation office, regardless

 6   of how the Court ultimately calculates the Guidelines in this case. But to the extent the Court does

 7   look to the Guidelines, it should adopt this memorandum’s calculation of the total offense level and

 8   corresponding sentencing range. As explained below, the presentence report miscalculates the

 9   sentencing range in two respects: It miscalculates the loss amount under section 2B1.1, and it

10   improperly applies an enhancement for violating a prior, specific decree.

11          1. The loss amount cannot be reasonably determined and is vastly overstated in the
               presentence report’s calculations.
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            The application notes for section 2B1.1 of the Sentencing Guidelines instruct the Court to
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     “use the gain that resulted from the offense as an alternative measure of loss only if there is a loss
14
     but it reasonably cannot be determined.” Application note 3(B) to U.S.S.G. § 2B1.1. The loss
15
     amount cannot reasonably be determined here. For one, the presentence report’s loss calculation is
16
     based on the government’s calculations, which are in turn based on records that multiple witnesses
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     described at trial as being unreliable and full of incomplete and inaccurate data. Not only that, but
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     it is also impossible in this case to separate out the losses from the offense from losses from other
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     sources, most notably the losses flowing from the incompetence and malfeasance of Mr. Hansen’s
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     successor, the bankruptcy trustee Mark Calvert.
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 1                  i. The presentence report’s loss calculation for bullion customers is based on a
                       recordkeeping system that multiple government witnesses and an expert have
 2                     testified was unreliable.

 3          Multiple witnesses testified throughout the trial that NWTM’s “Epicor” recordkeeping

 4   system was essentially worthless. Yet that is precisely the system that the government—and the

 5   presentence report—relied on to calculate the loss amount to standard bullion customers in this case.

 6   See Layne Decl. at ¶ 71.        Because that system was incapable of reliably supporting those

 7   calculations, the Court should reject the government’s calculations and find that there is no

 8   reasonable way to estimate the losses.

 9          Epicor, as multiple witnesses testified at trial, was nothing short of a disaster as a

10   recordkeeping system for the company. The system was incapable of recording orders unless the

11   metal was already in the mint’s possession—a flaw that rendered the system essentially useless for

12   a company that bought metals to fill orders, rather than maintaining an inventory. See Layne Decl.

13   ¶¶ 75–76. Not only that, the system had bugs that would result in fulfilled orders showing as open

14   and unfulfilled. See, e.g., Trial Exs. 1728, 1734; trial testimony of J. Young. Members of the

15   accounting group that reviewed the company’s finances after the bankruptcy described the data

16   derived from Epicor as being “broken” with much data “either missing or inaccurate.” Layne Decl.

17   ¶¶ 81–82. The company had “poor record keeping and inefficient systems” another person put it.

18   Id. ¶ 84. And the bankruptcy trustee himself even went so far as to conclude that “accounting records

19   did not exist” at NWTM as the “company was r[u]n more like a personal hobby than as a business.”

20   Id. ¶ 85 (emphasis added).

21          Given this unrebutted testimony and evidence that the data in the Epicor system was

22   unreliable, the Court should agree with Ms. Layne and conclude that the use of this data renders the

23   loss calculation unreliable. It should instead find, as did Ms. Layne, that “it is not possible to

24   accurately and reliably calculate loss in this matter.” Id. ¶ 94.

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 1                  ii. The presentence report’s loss amount for storage customers is based on
                        unreliable inventories.
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            The loss-amount calculation for storage customers is likewise unreliable. That calculation
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     relies upon an inventory conducted by the bankruptcy trustee, Mark Calvert. But that inventory was
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     flawed in several serious ways, making it unreasonable to rely on it to even estimate losses in this
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     case. Anne Layne, an expert in forensic accounting, has examined Mr. Calvert’s work and found it
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     flawed in several ways, including a reliance on incomplete NWTM records, a failure to use more
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     reliable third-party records, a failure to consider alternative sources of loss, and a flawed method of
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     identifying customer-owned metals. See Layne Decl. ¶¶ 50–70. In fact, Mr. Calvert himself
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     described his own inventory as “inconclusive” and “incomplete.” Id. at ¶ 68. Ms. Layne agrees,
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     concluding that Mr. Calvert’s inventory “cannot be relied upon for calculation of loss in this matter.”
11
     Id. ¶ 69 (emphasis in original). The Court should conclude likewise and find that it is not possible
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     to reasonably estimate the losses attributable to Mr. Hansen using Mr. Calvert’s unreliable inventory.
13
                    iii. The loss amount fails to account for the unforeseeable incompetence and
14                       malfeasance of the bankruptcy trustee.

15          Not only is the presentence report’s source data entirely unreliable, but it also fails to properly

16   account for the significant portion of the losses that were attributable to the malfeasance and

17   incompetence of Mr. Hansen’s successor—the bankruptcy trustee, Mark Calvert. At the time Mr.

18   Calvert took over, he estimated that the losses to the creditors of NWTM would be nowhere near the

19   loss amount the presentence report has adopted in this case. Mr. Calvert told the bankruptcy court

20   during bankruptcy proceedings that creditors could expect to receive a distribution of 50–75 percent.

21   See Layne Decl. ¶ 38. Yet Mr. Calvert instead squandered away the assets of the company. The

22   bankruptcy court overseeing Mr. Calvert’s work found that Mr. Calvert not only made many

23   blunders but also tried to enrich himself at the expense of the estate, while making numerous

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 1   misrepresentations to hide his misdeeds. See generally Order of Fee Applications, In re Nw.

 2   Territorial Mint, No. 16-11767, Dkt. 2118; Layne Decl. ¶¶ 22–32.

 3          Mr. Hansen should not be held responsible for losses attributable to Mr. Calvert. The

 4   unforeseeable and intervening acts of others are not attributable to the defendant. Indeed, in United

 5   States v. Hicks, 217 F.3d 1038, 1049 (9th Cir. 2000), the Ninth Circuit vacated a sentence because

 6   the Court failed to consider whether the losses attributable to the defendant “were inflated by the

 7   intervening, independent, and unforeseeable criminal misconduct of [a] foreclosure agent.” In that

 8   case, the defendant had made false statements that induced a bank to make loans for certain

 9   properties. Id. at 1041. The loss amount was then determined by taking the loan amounts and

10   subtracting the value of the properties after the bank foreclosed on them. Id. at 1047. But the

11   foreclosure agent’s actions “resulted in the properties’ being sold at unreasonably low prices,”

12   artificially inflating the loss amount. Id. The Court concluded that “because the district court heard

13   no evidence and made no findings with respect to Defendant’s allegations that the bank’s losses were

14   inflated by the intervening, independent, and unforeseeable criminal misconduct of the foreclosure

15   agent” the sentence had to be vacated. Id. at 1049; see also United States v. Lonich, 23 F.4th 881,

16   917 (9th Cir. 2022) (vacating sentence where district court failed to account for factors not

17   attributable to the defendant that may have contributed to loss).

18          Here, similarly, Mr. Calvert’s actions greatly inflated the losses in this case. This was

19   unforeseeable—although some missteps from a trustee are perhaps to be expected, the magnitude of

20   Mr. Calvert’s missteps was beyond what any business owner could reasonably foresee. Perhaps the

21   best reflection of this is the extraordinary order of the bankruptcy court denying Mr. Calvert any

22   compensation for his work managing NWTM’s estate. See Order of Fee Applications, In re Nw.

23   Territorial Mint, No. 16-11767, Dkt. 2118 at 84-85. In that Order, the court found that Mr. Calvert

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 1   improperly paid himself at the expense of the estate (pp. 25-26), tried to mislead the court into

 2   approving artificially inflated breakup fees (pp. 6-8), engaged in costly litigation that generated no

 3   value for the estate (pp. 79-82), and otherwise “ma[d]e[] several missteps in his efforts to liquidate

 4   assets” (p. 19). These were “not merely . . . a series of bad judgment calls,” the court explained. Id.

 5   at 80. Mr. Calvert “violated the Bankruptcy Code, Bankruptcy Rules, and orders of the Court, and

 6   he made multiple misrepresentations, large and small, to the Court and other parties.” Id. Anne

 7   Layne, an expert fraud examiner and accountant, has also examined Mr. Calvert’s conduct and

 8   likewise concluded that he “violat[ed] the ethical standards of his profession,” did not act “in the

 9   best interests of the interested parties in the bankruptcy,” and “reduced the value of the estate and

10   therefore the amount paid to NWTM creditors.” Layne Decl. ¶¶ 31–32. Ms. Layne observes that

11   Mr. Calvert “made numerous questionable decisions that resulted in significant expense to the

12   bankruptcy estate.” Id. ¶ 48.

13          The government’s loss figures fail to account in any way for Mr. Calvert’s role in driving

14   losses to the victims in this case. It does not account for the fact that, by Mr. Calvert’s own estimate,

15   the victims should have received back 50–75% of their money. It does not account for the costs to

16   those victims of Mr. Calvert’s incompetence and malfeasance as a trustee.

17          It is impossible to do so now. It is impossible to determine with any degree of certainty, for

18   example, what assets might have been returned to the creditors by a bankruptcy trustee who acted

19   competently and with integrity. Cf. id. ¶¶ 37–39 (discussing returns that Mr. Calvert had represented

20   he expected to obtain). The Court should therefore find that losses cannot be reasonably estimated

21   in this case because it is impossible to fully account for—or even to reasonably estimate—the effect

22   of Mr. Calvert on those losses.

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 1                   iv. Rather than using an unreliable loss estimate, the Court should instead use Mr.
                         Hansen’s personal gain from the offense in determining his offense level.
 2
             Application note 3(B) to U.S.S.G. § 2B1.1 instructs the Court to use the “gain that resulted
 3
     from the offense as an alternative measure” in cases where “there is a loss but it reasonably cannot
 4
     be determined.” Here, because there is a loss, but it cannot be reasonably determined, the Court
 5
     should instead use Mr. Hansen’s personal gain from the offense.
 6
             Estimating Mr. Hansen’s personal gain is more straightforward than trying to estimate the
 7
     losses in this case. At trial, the government introduced extensive evidence of the owners’ draws
 8
     taken by Mr. Hansen and Ms. Erdmann. See, e.g., Trial Ex. 84. Certainly, not all of those owners’
 9
     draws are gains from the offense—much of those are proceeds from business operations of NWTM
10
     that the government has never contended were fraudulent, such as the timely delivery of bullion
11
     orders or the production of distinguished service medals for the U.S. military. To estimate what
12
     portion of the owners’ draws are proceeds from the offense, the Court should look to the amount of
13
     owners’ draws starting from July 2015, which is the month in which NWTM began taking substantial
14
     numbers of bullion orders that it would ultimately not be able to fulfill. See Trial Ex. 1473. From
15
     July 2015 until the bankruptcy in 2016, the owners’ draws benefitting Mr. Hansen totaled only
16
     $97,030.    See Layne Decl. ¶ 12.        The Court should use that figure—a gain of $97,030—in
17
     determining how many points to add under § 2B1.1(b)(1). Doing so results in an 8-point increase
18
     under § 2B1.1(b)(1), as opposed to the 22-point increase proposed by the presentence report. 3
19
             In addition to being the correct application of the Guidelines, using Mr. Hansen’s gain to
20
     determine the offense level also better reflects his culpability. Again, in a typical fraud case, one
21
     dollar of loss is one dollar that the defendant wanted to steal from another and keep for himself. But,
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     3
       This gain amount of $97,030 also puts Mr. Hansen just above the cutoff for the next bracket down (which
     ranges from $40,000–$95,0000). See U.S.S.G. § 2B1.1. If he were in that next bracket, his total offense level
     would then be 25, with a corresponding sentencing range of 57–71 months.
24

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 1   here, Mr. Hansen did not want to take money from others without delivering anything in return. The

 2   loss amount reflected in the presentence report, which includes millions of dollars of losses that Mr.

 3   Hansen never wanted to happen, thus vastly overstates his culpability. The Court should instead

 4   look to the gain amount recommended in this memorandum, which better reflects his motivation and

 5   culpability.

 6                  v. At the very least, the Court should deduct the losses that were attributable to Mr.
                       Calvert.
 7
            At the very least—even if the Court rejects the position that losses cannot be estimated in
 8
     this case—the Court should deduct out losses that can be attributed to Mr. Calvert. As Ms. Layne
 9
     explains in her declaration, nearly $9 million of the losses calculated by the government consist of
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     orders that were still pending and timely at the time that Mr. Calvert took over the business and
11
     decided to discontinue all bullion operations. Layne Decl. at ¶¶ 34–36, 91. Another nearly $5
12
     million of losses are derived from Mr. Calvert’s unreliable inventory. Id. at ¶ 92. And another
13
     $3.165 million are refunds based on unreliable data. Id. at ¶¶ 82, 93. Subtracting out these figures
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     would dramatically reduce the loss amount in this case to $16,701,063. Id. ¶ 94. The disparity
15
     between that number and the government’s proposed number of $33,744,166 just goes to show how
16
     unreliable any estimate of loss is in this case, and further supports the use of Mr. Hansen’s gain as
17
     an alternative measure for purposes of sentencing.
18
            2.      The consent decree does not warrant a 2-point enhancement.
19
            The evidence is not sufficient to support the application of a sentencing enhancement for
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     having violated a “prior, specific judicial or administrative order.” U.S.S.G. § 2B1.1(b)(9)(C)
21
     (emphasis added). The presentence report asserts that the evidence at trial showed the defendants
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     violated a prior consent decree with the state of Washington, but, in closing remarks, the government
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     itself disavowed that the evidence in this case established or depended upon whether the defendants
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 1   violated the consent decree. “[W]e . . . need to be very clear,” counsel for the government explained,

 2   “[t]his case is not about whether the defendants violated the consent decree.” In fact, the only aspect

 3   of the consent decree that the government even bothered to mention in closing was the unspecific

 4   requirement that the defendants “have to be honest.”

 5          Despite the government’s own disavowal of the consent decree, the presentence report

 6   nevertheless finds that the enhancement should apply because NWTM was required to “tell bullion

 7   customers they could liquidate their order prior to the promised delivery date” and to provide

 8   customers with the “option of a refund” if their orders were delayed. PSR at Response to Obj. 58.

 9   But the evidence at trial makes clear that customers were clearly informed that they could liquidate

10   their order prior to the promised delivery date and that they had the option of a refund if their orders

11   were delayed. In fact, NWTM used the precise language that the consent decree required them to

12   use. Compare Ex. 4 (Consent Decree) at 7–8 with, e.g., Ex. 160 (bullion confirmation notice).

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10   Ex. 4 (consent decree).
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17   Ex. 160 (example of confirmation email to customer).

18          And the evidence at trial shows that many customers indeed chose to exercise the refund

19   option contained in this notice. In fact, refunds were over a quarter of NWTM’s cash outflows in its

20   final months of operations. See Trial Ex. 1474.

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     Trial Exhibit 1474.
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            Testimony from one of the government’s star witnesses at trial—NWTM’s prior general
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     counsel, Greg Fullington—further confirms that NWTM was complying with the consent decree’s
15   shipping requirements.     Mr. Fullington agreed during his testimony that “inability to ship is
16
     contemplated” in the consent decree and that “the deal that the Mint was making with its customers
17   was consistent . . . with the requirement that the consent decree had in it.” Trial testimony of G.
18   Fullington. He further testified that the refund notice complied with the consent decree, testifying
19   that “inability to ship is contemplated” and that “[g]iven the reference to a refund if shipping did not
20   occur, this is also consistent with the requirements found in the AG consent decree.” Id.
21          To the extent that the government relies instead on the consent decree’s requirement that
22   NWTM must not make misrepresentations—or, as the government put it in closing, “be honest”—
23   this is not the type of specific prohibition that would warrant the application of this enhancement.
24

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 1   The application notes for this enhancement make clear that, for the enhancement to apply, the

 2   consent decree must have ordered the defendant “to take or not to take a specified action.” U.S.S.G.

 3   § 2B.1.1 Cmt. 8(C) (emphasis). The consent decree’s language prohibiting “any misrepresentations

 4   in the context of [NWTM’s] business activities” does not satisfy this standard. This is nothing but

 5   a vague requirement to act honestly—there is no “specified action” that NWTM was required to take

 6   or not take.

 7          3.      Sentencing Calculation

 8          After correctly determining the loss/gain amount, and removing the enhancement relating to

 9   the consent decree, the correct total offense level is 27. This corresponds to a sentencing range of

10   70–87 months.

11   F. Mr. Hansen should be permitted to surrender voluntarily.

12          Mr. Hansen respectfully requests that he be permitted to self-report, as the probation office

13   has recommended in its Release Status Report. Under 18 U.S.C. § 3143(a)(1), a defendant is

14   permitted to remain on supervised release pending the execution of a sentence if the Court finds “by

15   clear and convincing evidence that the person is not likely to flee or pose a danger to the safety of

16   any other person or the community if released.” Mr. Hansen by now has a long history of complying

17   with his conditions of supervised release and has never demonstrated that he is likely to flee or pose

18   any sort of danger to anyone. There is no reason to believe that this would change after the

19   imposition of a sentence.

20                                         III.    CONCLUSION

21          For the foregoing reasons, Mr. Hansen respectfully recommends a custodial sentence

22   substantially below the sentence recommended by the probation office.

23   ///

24   ///

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 1          DATED this 22nd day of April, 2022.

 2

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